                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

IN RE:                                              §
                                                    §
BENJAMIN JOE GIRON,                                 §      CASE NO. 20-31151-HCM-CH13
                                                    §
              DEBTOR,                               §
                                                    §
MDJJ REAL ESTATE, LLC,                              §
          MOVANT,                                   §
                                                    §
v.                                                  §
                                                    §
BENJAMIN JOE GIRON, MELENDRES                       §
HOME, LLC and STUART C. COX,                        §
CHAPTER 13 TRUSTEE,                                 §
          RESPONDENTS.                              §

       ORDER GRANTING MOTION TO DETERMINE LACK OF AUTOMATIC
         STAY AND WAIVER OF THIRTY-DAY HEARING REQUIREMENT

       On this day came on to be considered the Motion to Determine Lack of Automatic Stay

and Waiver of Thirty-Day Hearing Requirement filed by MDJJ Real Estate, LLC (“Movant”).

After consideration of the pleadings and of the argument of counsel, this Court is of the opinion

that the Motion should be GRANTED.
          IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the automatic stay

afforded by 11 U.S.C. §362 does not extend to Melendres Home, LLC in the instant Chapter 13

and that Movant may proceed with its rights under the Deed of Trust attached to the Motion filed

herein.

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Order Prepared By:

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